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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   RALPH COLEMAN, et al.,

11                  Plaintiffs,                           No. CIV S-90-0520 LKK JFM P

12           vs.

13   ARNOLD SCHWARZENEGGER,                                      ORDER
     et al.,
14
                    Defendants.
15                                        /

16           In accordance with the court’s order issued on June 19, 2006, the Clerk of the Court is

17   directed to copy and forward by mail to plaintiffs’ counsel, Michael Bien, the Special Master’s

18   Report on the Status and Sufficiency of the Defendants’ Budget Requests for Staffing to

19   Implement the Revised Program Guide, as well as the attached exhibits. The Clerk of the Court

20   is also directed to forward the above-mentioned documents to Robert Sillen, the court-appointed

21   Receiver in Plata et al v. Schwarzenegger, Civ. S-01-1351 (N.D. Cal.) at:

22           Robert Sillen
             c/o Judge Thelton E. Henderson
23           U.S. District Court for
              the Northern District of California
24           450 Golden Gate Ave
             San Francisco, CA 94102
25

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 1          In the report, the Special Master recommends that,

 2          Defendants should be required to incorporate the mental health staffing proposals
            included in the CDCR’s FY2006/07 BCP (Exhibit C) for implementing the Program
 3          Guide revisions. Any workload study funded by the defendants ought to be required to
            submit findings and recommendations sufficiently timely to be incorporated in the
 4          FY2007/08 budge cycle.

 5          Special Master’s Report at 10-11.

 6          The parties are to file not later than fifteen (15) days from the effective date of this order,

 7   a memorandum of points and authorities either in support of or in opposition to the Special

 8   Master’s recommendation. The parties are also directed to address the question of whether the

 9   California Department of Finance should be added as a named defendant in this action. Finally,

10   the parties are asked to brief the issue of whether the Special Master’s report and attached

11   exhibits should be unsealed.

12          The parties shall file their briefs under seal. The court will either take the matter under

13   submission or will order a hearing, if appropriate.

14          IT IS SO ORDERED.

15          DATED: June 21, 2006.

16
                                                           Lawrence K. Karlton
17                                                         Senior Judge
                                                           United States District Court
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